Official Form 1 (4/07)
                                        United States Bankruptcy Court
                                                 Eastern District of Michigan                                                                       Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
  Geddes, Robert William                                                                           Geddes, Susan Mary


All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
  AKA Robert W. Geddes; AKA Robert William Geddes                                                  AKA Susan Mary Geddes; AKA Susan M Geddes



Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all): Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all):
  xxx-xx-7487                                                                                      xxx-xx-7903
Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
  13078 MASONIC BLVD                                                                               13078 MASONIC BLVD
  Warren, MI                                                                                       Warren, MI
                                                                               ZIP Code                                                                                     ZIP Code
                                                                           48088                                                                                         48088
County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
  Macomb                                                                                           Macomb
Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):


                                                                               ZIP Code                                                                                     ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                  Type of Debtor                                  Nature of Business                                  Chapter of Bankruptcy Code Under Which
               (Form of Organization)                                (Check one box)                                     the Petition is Filed (Check one box)
                  (Check one box)                           Health Care Business                           Chapter 7
                                                            Single Asset Real Estate as defined            Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                     in 11 U.S.C. § 101 (51B)                                                        of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                  Chapter 11
                                                            Railroad
                                                                                                           Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                      Stockbroker
                                                                                                           Chapter 13                       of a Foreign Nonmain Proceeding
                                                            Commodity Broker
    Partnership
                                                            Clearing Bank
    Other (If debtor is not one of the above entities,      Other                                                                      Nature of Debts
    check this box and state type of entity below.)                                                                                     (Check one box)
                                                                  Tax-Exempt Entity
                                                                 (Check box, if applicable)                Debts are primarily consumer debts,                  Debts are primarily
                                                            Debtor is a tax-exempt organization            defined in 11 U.S.C. § 101(8) as                     business debts.
                                                            under Title 26 of the United States            "incurred by an individual primarily for
                                                            Code (the Internal Revenue Code).              a personal, family, or household purpose."

                               Filing Fee (Check one box)                                       Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                       Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                       to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                     A plan is being filed with this petition.
                                                                                                       Acceptances of the plan were solicited prepetition from one or more
                                                                                                       classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information        *** A. RITA KOSTOPOULOS P63178 ***                                                         THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
    there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors
        1-           50-         100-         200-       1000-     5001-       10,001-        25,001-   100,001-     OVER
        49           99          199          999        5,000    10,000       25,000         50,000    100,000     100,000


Estimated Assets
        $0 to                      $10,001 to               $100,001 to              $1,000,001 to             More than
        $10,000                    $100,000                 $1 million               $100 million              $100 million

Estimated Liabilities
        $0 to                      $50,001 to               $100,001 to              $1,000,001 to             More than
        $50,000                    $100,000                 $1 million               $100 million              $100 million
                   07-52776-wsd                       Doc 1      Filed 06/30/07                  Entered 06/30/07 14:34:25                              Page 1 of 5
Official Form 1 (4/07)                                                                                                                                    FORM B1, Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Geddes, Robert William
(This page must be completed and filed in every case)                                  Geddes, Susan Mary
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ A. RITA KOSTOPOULOS                                  June 30, 2007
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             A. RITA KOSTOPOULOS P63178

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
      No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                         Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                              (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                   permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                   possession was entered, and
                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
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Official Form 1 (4/07)                                                                                                              FORM B1, Page 3
                                                                                  Name of Debtor(s):
Voluntary Petition                                                                   Geddes, Robert William
(This page must be completed and filed in every case)                                Geddes, Susan Mary
                                                                             Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
                                                                                    I declare under penalty of perjury that the information provided in this petition
     I declare under penalty of perjury that the information provided in            is true and correct, that I am the foreign representative of a debtor in a foreign
     this petition is true and correct.                                             proceeding, and that I am authorized to file this petition.
     [If petitioner is an individual whose debts are primarily consumer             (Check only one box.)
     debts and has chosen to file under chapter 7] I am aware that I may
                                                                                       I request relief in accordance with chapter 15 of title 11. United States Code.
     proceed under chapter 7, 11, 12, or 13 of title 11, United States                 Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     Code, understand the relief available under each such chapter, and
     choose to proceed under chapter 7.                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     [If no attorney represents me and no bankruptcy petition preparer                 of title 11 specified in this petition. A certified copy of the order granting
     signs the petition] I have obtained and read the notice required                  recognition of the foreign main proceeding is attached.
     by 11 U.S.C. §342(b).
     I request relief in accordance with the chapter of title 11, United
                                                                                  X
                                                                                      Signature of Foreign Representative
     States Code, specified in this petition.

 X    /s/ Robert William Geddes                                                       Printed Name of Foreign Representative
     Signature of Debtor Robert William Geddes
                                                                                      Date
 X    /s/ Susan Mary Geddes
     Signature of Joint Debtor Susan Mary Geddes                                         Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy
     Telephone Number (If not represented by attorney)                                petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
                                                                                      document for compensation and have provided the debtor with a
     June 30, 2007                                                                    copy of this document and the notices and information required
     Date                                                                             under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
                                                                                      guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                            Signature of Attorney                                     setting a maximum fee for services chargeable by bankruptcy
                                                                                      petition preparers, I have given the debtor notice of the maximum
 X    /s/ A. RITA KOSTOPOULOS                                                         amount before preparing any document for filing for a debtor or
     Signature of Attorney for Debtor(s)                                              accepting any fee from the debtor, as required in that section.
                                                                                      Official Form 19B is attached.
      A. RITA KOSTOPOULOS P63178
     Printed Name of Attorney for Debtor(s)
                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
      KOSTOPOULOS & ASSOCIATES PLLC
     Firm Name
      d/b/a The Fresh Start Center Law Firm                                           Social Security number (If the bankrutpcy petition preparer is not
      30800 Van Dyke Suite 204                                                        an individual, state the Social Security number of the officer,
      Warren, MI 48093                                                                principal, responsible person or partner of the bankruptcy petition
                                                                                      preparer.)(Required by 11 U.S.C. § 110.)
     Address

           kosto1@comcast.net www.go4bankruptcy.com
      586-574-0916 Fax: 586-574-2157
     Telephone Number
                                                                                      Address
     June 30, 2007
     Date
                                                                                  X
               Signature of Debtor (Corporation/Partnership)
                                                                                      Date
     I declare under penalty of perjury that the information provided in
     this petition is true and correct, and that I have been authorized to            Signature of Bankruptcy Petition Preparer or officer, principal,
     file this petition on behalf of the debtor.                                      responsible person,or partner whose Social Security number is
     The debtor requests relief in accordance with the chapter of title 11,           provided above.
     United States Code, specified in this petition.
                                                                                      Names and Social Security numbers of all other individuals who
                                                                                      prepared or assisted in preparing this document unless the
 X                                                                                    bankruptcy petition preparer is not an individual:
     Signature of Authorized Individual

     Printed Name of Authorized Individual
                                                                                      If more than one person prepared this document, attach additional
                                                                                      sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual
                                                                                    A bankruptcy petition preparer’s failure to comply with the
                                                                                    provisions of title 11 and the Federal Rules of Bankruptcy
     Date
                                                                                    Procedure may result in fines or imprisonment or both 11 U.S.C.
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                                                                                    §110; 1806/30/07
                                                                                             U.S.C. §156. 14:34:25          Page 3 of 5
                      Geddes, Robert and Susan -


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                      A. US TRUSTEE OFFICE
                      211 W. FORT STREET
                      DETROIT, MI 48226


                      BANK OF AMERICA
                      P.O. BOX 1758
                      NEWARK, NJ 07101-1758


                      BANK OF AMERICA
                      P.O. BOX 15480
                      WILMINGTON, DE 19850


                      CHASE
                      P.O. BOX 15298
                      WILMINGTON, DE 19850-5298


                      CHRYSLER FINANCIAL
                      PO BOX 2993
                      MILWAUKEE, WI 53201


                      DIAMLER CHRYSLER
                      PO BOX 9223
                      FARMINGTON, MI 48333


                      DISCOVER FINANCIAL SERVICES
                      PO BOX 15316
                      WILMINGTON, DE 19886


                      DTE ENERGY
                      PO BOX 2859
                      DETROIT, MI 48260


                      FIFTH THIRD
                      PO BOX 173764
                      DENVER, CO 80217


                      GEMB/SAMS CLUB
                      PO BOX 981400
                      EL PASO, TX 79998


                      HSBC NV
                      1441 SCHILLING PLACE
                      SALINAS, CA 91901



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                  Geddes, Robert and Susan -



                  INFIBANK
                  3480 PIEDMONT RD NE
                  ATLANTA, GA 30305


                  IRWIN HOME EQUITY
                  12677 ALCOSTA BLVD. SUITE 5
                  SAN RAMON, CA 94583


                  SEARS/CBSD
                  13200 SMITH ROAD
                  CLEVELAND, OH 44130


                  WELLS FARGO
                  PO BOX 29704
                  PHOENIX, AZ 85038




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